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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

     UNITED STATES OF AMERICA,

              Plaintiff,

     v.                                                     Case No. 8:05-cr-44-T-24TBM

     STEVEN R. HARDY,

              Defendant.
                                           /

                                               ORDER

              In accordance with the Court’s order dated June 28, 2005, Michael S. Maher, M.D.,

     has conducted a competency evaluation of Defendant Steven R. Hardy. By the doctor’s

     assessment the Defendant appreciates the charges and allegations against him, the potential

     punishment, the adversarial nature of the legal process, and he is possessed of the capacity to

     assist his attorney in the defense of his case. In other words, the doctor concludes the

     Defendant is competent to proceed. On July 11, 2005, the Defendant, with counsel, was

     offered the opportunity to further contest the matter of his competence. Counsel indicates she

     does not dispute Dr. Maher’s conclusions, nor does she question her client’s competency to

     proceed. Accordingly, the court finds Steven R. Hardy competent to proceed to trial as

     scheduled.

              Done and Ordered in Tampa, Florida this 11th day of July 2005.




     Copies furnished to:
     Honorable Susan C. Bucklew
     Chris Tuite, Assistant United States Attorney
     Dionja Dyer, Attorney for Defendant
